VIRGINIA - SCC

Entity Information

Entity Information

Entity Name:

Entity Type:

Formation Date:

VA Qualification Date:
Industry Code:
Jurisdiction:

Annual Report Due
Date:

Registration Fee Due
Date:

Aston Technologies, Inc.

Stock Corporation
03/26/2018

03/26/2018
0 - General

VA
N/A

Not Required

https://cis.scc. virginia.gov/EntitySearch/BusinessInformation?businessl...

Entity ID:

Entity Status:

Reason for Status:

Status Date:

Period of Duration:

Charter Fee:

 

 

Registered Agent Information

RA Type:

RA Qualification:

Name:

Individual

Director of the
Corporation

Principal Office Address

Address:

Privacy Policy (https:/Avww.scc. virginia.gov/privacy.aspx)

Jalbiaile aantant aany\

1 of 2

Locality:

08296782

Active

Active and In Good
Standing

03/26/2018

Perpetual

$50.00

FAIRFAX

  

JEFF XU Registered Office 14303-G SULLYFIELD
Address: CIR., CHANTILLY, VA,
20151 - 0000, USA
14303 Sullyfield Cir Ste
G, Chantilly, VA, 20151 -
1631, USA
Contact Us (https:/Awww.sccff EXHIBIT
Hhttne:Thanana fanahanl nam fienininQtataRarnarahanO ami 4

 
VIRGINIA - SCC https://cis.scc. virginia.gov/EntitySearch/BusinessInformation?businessl...

Principal Information

Last
Title Director Name Address Updated
President Yes JEFF XU 14303 Sullyfield Cir Ste G, CHANTILLY, VA, 02/15/2020
20151 - 6680, USA
Vice Yes LIQIU 14303 Sullyfield Cir Ste G, CHANTILLY, VA, 02/15/2020

President XU 20151, USA

Current Shares

Total Shares: 100

Filing History RA History Name History Previous Registrations

Garnishment Designees Image Request

 

(Back) (Return to Search) (Ret rn to eS)

 

Back to Login

Privacy Policy (https:/Awww.scc.-virginia.gov/privacy.aspx) | Contact Us (https:/Avww.scc. virginia.gov

fallbdallb aantant aanw\ dattere+Shananar fannhaanl nam lirninianQtata’ arnaratinnl ammiccian \

2 of 2 2/21/2020, 2:50 PM
 

 

cee
Zi aes
a

 
ee

os
ae

 

a Le Z i
a Le Le :
EI
Le oo Z Gg
; :

EES

ge

ae

Ze
ee
oe

ge

EXHIBIT
   
 

ORIGINAL

Liaoning TomTop International Trading Co., LTD.
Room 101-003, No. 49, Xinhai Street, Yirigkou Area of Chinaa(Lisoning)Pilet Free Trade Zone

COMMERCIAL INVOICE

 

Shipper/Exporter No. of Invoice] LNTTOS524
Date: | 2019/5/24
SALES CONTRACT NO. :| 6180608

Liaoning TomTop International Trading Co., LTD.
Room 101-003, No. 49, Xinhai Street, Yingkou Area
of Chinaa (Liaoning) Pilot Free Trade Zone

 

 

 

 

 

Buyer/ Importer Vessel /Voyage
Gleegraf Co. ltd MAERSK HANGZHOU V. 9220
Semp House, 152-160 City Road, London, England DL NO.

BUKW1905013

 

 

Port of loading|Final destination

XINGANG, CHINA |Bal timore

Payment Terms
80% - advance payment, 20% - during 10
days after arrival of goods to the point

 

ef destination.

 

 

 

 

 

 

 

 

 

 

 

 

 

Marks & Nos. Description of goods Quantity |Unit-price Amount
(Piece) [CIF BALTIMORE USD
TIRE CHANGER 8 760 6080
N/M CAR LIFT | 19 865 1646
TERE BALANCER 26 395 10270
CAR WASHING MACHINE 40 115 4600
TOTAL: | 93 37385 ,

 

 

 

 

 

EXHIBIT

A

 
   

ORIGINAL

Liaoning TomTop International Trading Co., LTD.

Room 101-003, No. 49, Xinhai Street, Yingkou Area of Chinaa(Lisoning)Pilot Free Trade Zone

COMMERCIAL INVOICE

 

 

Shipper/Exporter

Liaoning TomTop International Trading Co., LTD.

Room 101-003, No. 49, Xinhai Street, Yingkou Area
of Chinaa (Liaoning) Pilot Free Trade Zone

 

 

No. of Invoice] LNTTO527
Date: | 2019/5/27
SALES CONTRACT NO. :1  G180612

 

 

 

Buyer/ Importer

Gleegraf Co. ltd
Kemp House, 192-160 City Road, London, England

Vessel /Vayage

MAERSK HANGZHOU V. 922W

 

B/L NO.
BUKW1905014

 

Port of loading|Final destination

DALTAN, CHINA = [Baltimore

Payment Terms

80% ~ advance payment, 20% ~ during 10

days after arrival of gaods

 

of destination

to the point

 

 

 

 

 

 

 

 

 

 

 

 

 

Marks & Nos. Description of goods Quantity, Unit-price Amount
(Piece) |CIF BALTIMORE USD

TIRE CHANGER 38 745. 00 28310. 00

N/M TIRE CHANGER 2 2110. 00 4220, 00

TIRE NITROGEN GENERATOR 2 615. 00 1230. 00

WHEEL ALIGNER 1 3560. 00 3560. 00

LIFT 1 10950. 00 10950. 00

LIFT 1 2700. 00 2700. 00
GLASSWARE 27 1. 00 21.00

TOTAL: | 72 50997, 00

 

 

 

 

 

 

EXHIBIT

5

 
a

tis

en
asst
Borris

—

aia

er

Deed
-
““,
aa
Me
Se

 

 

ae
ed

See
Sead

oe

Sea
ed
ae
nt

 

cp
Ea ae

Pere ee
ae ie
: a ee)
Deed

nae

:
“Yas

a

 

 

EXBIBIT

ee
Le

Billie

Ze

 
